                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                   3:04-cr-271

UNITED STATES OF AMERICA            )
                                    )
            v.                      )                       ORDER
                                    )
ILA LITTLE HOWARD (3)               )
____________________________________)


       THIS MATTER is before this Court upon the defendant’s motion, pro se, to waive the

fine imposed by the Court as part of her sentence. (Doc. No. 481).

       The defendant is serving a sentence following her conviction for prostitution, money

laundering, and drug offenses. (Doc. No. 353: Judgment). That judgment became final after it

was affirmed on direct appeal, (Doc. No. 473: Mandate of United States Court of Appeals for the

Fourth Circuit), and the defendant did not seek review by the Supreme Court. Clay v. United

States, 537 U.S. 522, 527 (2003). Accordingly, the Court is without jurisdiction to alter the

Judgment to eliminate the fine. Even if the Court had jurisdiction, it would deny the motion.

The fine was imposed after consideration of the defendant’s personal financial situation;

therefore, the passing of her parents and the inability of other family members to provide support

does not affect the Court’s decision.

       IT IS, THEREFORE, ORDERED that Defendant’s Motion (Doc. No. 481) is

DENIED.                                         Signed: June 15, 2010




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